                       Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 1 of 9
AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet I
                                                                                                                        FILED
                                                                                                                           SEP 0 5 2017
                                         UNITED STATES DISTRICT COURT                                                 Clerk, U S District Court
                                                                                                                        District Of Montana
                                                                District of Montana                                           Missoula
                                                                          )
                UNITED STA TES OF AMERICA                                 )   JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                  NATHAN ALAN SWENSON
                                                                          )
                                                                               Case Number: CR 17-12-M-DLC-02
                                                                          )
                                                                          )    USM Number: 16779-046
                                                                          )
                                                                          )     Craig Shannon
                                                                          )    Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         Count 1 and 12 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
 18 U.S.C. §§ 1349, 1343           Conspiracy to Commit Wire Fraud                                          4/20/2017                    1
 18 U.S.C. § 1028A(a)(1)           Aggravated Identity Theft                                                4/20/2017                    12



       The defendant is sentenced as provided in pages 2 through         __9 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count( s)     2,3,5,6,7,11,13,15,16,17,and21        Dis       liZI are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney o this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments im s d by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material c n es in economic circumstances.




                                                                          Dana L. Christensen, Chief Judge
                                                                         Name and Title of Judge


                                                                          9/5/2017
                                                                         Date
                      Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 2 of 9
AO 245B (Rev. 11116) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -          2_ of
                                                                                                                  Page _ _            9
 DEFENDANT: NATHAN ALAN SWENSON
 CASE NUMBER: CR 17-12-M-DLC-02

                                                            IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  12 months on Count 1, and 24 months on Count 12, to run consecutively to Count 1.




     !i"l The court makes the following recommendations to the Bureau of Prisons:
  (1) Defendant shall participate in the Bureau of Prisons' 500 hour Residential Drug Treatment Program (RDAP), if eligible.
  (2) Defendant shall be placed at the Bureau of Prisons' facility at FPC Duluth in Duluth, Minnesota, or FPC Yankton in Yankton, South
  Dakota , in order to be near family.


     lill   The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D at                                  D a.m.       D p.m.       on

            D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL
                     Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 3 of 9
AO 245B (Rev. 11116) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                      Judgment- Page __J__ of           9
DEFENDANT: NATHAN ALAN SWENSON
CASE NUMBER: CR 17-12-M-DLC-02
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 3 years on Count 1, and 1 year on Count 12, to run concurrently to Count 1.


                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                         Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 4 of 9
AO 2458 (Rev. 11 / 16)    Judgment in a Criminal Case
                          Sheet 3A - Supervised Release
                                                                                                Judgment- Page _ _ _ _ _ of ------''-----
DEFENDANT: NATHAN ALAN SWENSON
CASE NUMBER: CR 17-12-M-DLC-02

                                          STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame .
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so . If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers) .
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13 .   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 -------------
                      Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 5 of 9
AO 245B(Rev. 11116)    Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                              Judgment- Page    5    of       9
DEFENDANT: NATHAN ALAN SWENSON
CASE NUMBER: CR 17-12-M-DLC-02

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall submit their person, and any property, residence, place of employment, vehicle, papers, computers
 (as defined in 18 U.S.C. § 1030(e)(1 )), other electronic communications or data storage devices or media, to which the
 defendant has access, to a search at a reasonable time and a reasonable manner, with or without a warrant, by the United
 States Probation Office, or by any law enforcement officers upon the express direction of the United States Probation
 Office, with reasonable suspicion concerning a violation of a condition of supervision or unlawful conduct by the defendant.
 Failure to submit to search may be grounds for revocation. The defendant shall warn any other occupants, adults, and
 minors that the premises may be subject to searches pursuant to this condition. The defendant shall allow seizure of
 suspected contraband for further examination.

 2. The defendant must allow the probation officer to install computer monitoring software on any computer (as defined in
 18 U.S.C. § 1030(e)(1)) he uses.

 3. The defendant will provide the United States Probation Officer with any requested financial information and shall incur
 no new lines of credit without prior approval of the United States Probation Officer. The defendant must notify the
 Probation Officer of any material changes in his economic circumstances that might affect his ability to pay restitution, fines
 or special assessments.

 4. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

 5. The defendant shall participate in a mental health program that is approved by the United States Probation Office. The
 defendant is to pay part or all of the cost of this treatment as directed by the United States Probation Office.

 6. The defendant shall participate in a gambling addiction treatment program, as approved by the United States Probation
 Office, until the defendant is released from the program by the probation officer.

 7. The defendant shall not engage in any gambling or wagering activity of any kind, whether online, over the telephone, or
 in person , and shall not enter any casino or other place of business where gambling is the primary service offered .

 8. The defendant shall participate in and complete a program of substance abuse treatment as approved by the United
 States Probation Office, until the defendant is released from the program by the probation officer. The defendant is to pay
 part or all of the cost of this treatment, as directed by the United States Probation Office.

 9. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale.

 10. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
 365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

 11. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
 and/or synthetic stimulants that are not manufactured for human consumption, for the purpose of altering their mental or
 physical state.

 12. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription.

 13. The defendant must not use or possess any controlled substances without a valid prescription. If the defendant
 obtains a valid prescription , he must disclose the prescription information to the probation officer and follow the instructions
 on the prescription .
                        Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 6 of 9
AO 245B (Rev. I 1116)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment - Page _     _,6,,___   of   9
 DEFENDANT: NATHAN ALAN SWENSON
 CASE NUMBER: CR 17-12-M-DLC-02
                                                CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                     JVTA Assessment*                                             Restitution
 TOTALS              $ 200.00                     $                                 $                            $ 14,635.53


 D The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                  Total Loss**                            Restitution Ordered                 Priori!:y or Percentage
  Missoula Federal Credit Union                                         $263.80                                $263.80

  Wells Fargo Fraud Investigations                                         $74.45                               $74.45

   First Interstate Bank                                                $105.00                                $105.00

   Missoula Federal Credit Union                                           $92.03                               $92.03

   Missoula Federal Credit Union                                       $1,142.08                         $1,142.08

   Chase Bank USA, N.A. Attention                                       $900.00                                $900.00

  Chase Bank USA, N.A. Attention                                       $3,188.56                          $3,188.56

   Missoula Federal Credit Union                                        $316.61                                $316.61

  Wells Fargo                                                           $499.43                                $499.43

   KT's Hayloft & Saloon                                                $739.50                                $739.50

   Missoula Federal Credit Union                                           $75.88                               $75.88


 TOTALS                                $        $14,635.53                      $           ~14,635.53


 D       Restitution amount ordered pursuant to plea agreement $

 D       The defendant must pay interest on restitution and a fine of more than $2 ,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U. S.C. § 3612(g).

 !!ti    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         !!ti the interest requirement is waived for the          D fine     ltJ restitution.
         D the interest requirement for the           D    fine    0    restitution is modified as follows :

 *Justice for Victims of Trafficking Act of2015 , Pub. L. No. 114-22.
 **Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                       Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 7 of 9
AO 2458 (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet SA - Criminal Monetary Penalties
                                                                                                           7_ of
                                                                                          Judgment- Page _ _              9
DEFENDANT: NATHAN ALAN SWENSON
CASE NUMBER: CR 17-12-M-DLC-02

                       ADDITIONAL TERMS FOR CRIMINAL MONETARY PENAL TIES
 See attached Exhibit 1 for addresses of all restitution Payees.

 The restitution is to be paid in an amount of not less than $406.54 per month, or as otherwise directed by U.S. Probation.
 Payment shall be made to the Clerk, United States District Court, P.O. Box 8537, Missoula, MT 59807 as disbursed
 according to Exhibit 1.
                       Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 8 of 9
AO 245B (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 5B - Criminal Monetary Penalties
                                                                                                   Judgment- Page   _8_ of           9
DEFENDANT: NATHAN ALAN SWENSON
CASE NUMBER: CR 17-12-M-DLC-02

                                              ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                      Total Loss*            Restitution Ordered             Percentage
 Frenchie's Convenience Store                                                  $233.76                  $233.76

 Montana Valley Book Store                                                      $34.00                   $34.00

 Thornburg, Ted & Brenda                                                       $300.00                  $300.00

 The Buckle                                                                    $329.85                  $329.85

 The Bondsman/Earl Rowe                                                      $1,000.00                $1,000.00

 Wendy's                                                                        $26.66                   $26.66

 Town Pump Recovery Division                                                   $503.95                  $503.95

 Town Pump Recovery Division                                                    $78.95                   $78.95

 Town Pump Recovery Division                                                   $503.95                  $503.95

 Town Pump Recovery Division                                                   $907.90                  $907.90

 The Journey's Group                                                            $64.94                   $64.94
 Albertson's                                                                 $1,788.38                $1,788.38
 Albertson's                                                                   $503.95                  $503.95
 Albertson's                                                                   $505.95                  $505.95
 Albertson's                                                                   $455.95                  $455.95




      *Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23 , 1996.
                         Case 9:17-cr-00012-DLC Document 111 Filed 09/05/17 Page 9 of 9
AO 2458 (Rev. 11 11 6)   Judgment in a Criminal Case
                         Sheet 6 - Schedule of Payments

                                                                                                                  Judgment - Page       9      of           9
 DEFENDANT: NATHAN ALAN SWENSON
 CASE NUMBER: CR 17-12-M-DLC-02

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     liZl   Lump sum payment of$          200.00
                                           - - - - - - - due immediately, balance due

              D      not later than                                    , or
              liZI   in accordance with    D C,           D D,    D     E,or      liZI F below; or
 B     D      Payment to begin immediately (may be combined with                DC,         D D, or       D F below); or

 C     D      Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                             (e.g., months or years) , to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D      Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                                                                                                              -------
                             (e.g. , months or years) , to commence         _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     D      Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     liZl   Special instructions regarding the payment of criminal monetary penalties:

               Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per quarter,
               and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program . Criminal monetary
               payments shall be made to the Clerk, United States District Court, P.O. Box 8537, Missoula, MT 59807.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ~     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
        John Thomas Giblin 111, CR 17-12-M-DLC-01; Darcy Lee Segal, CR 17-12-M-DLC-03; Jasmine Michele Giffin, CR
        17-12-M-DLC-04, are all held accountable for the full restitution amount of $14,635.53.



 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVT A assessment, (8) penalties, and (9) costs, mcludmg cost of prosecution and court costs.
